Case 2:04-cr-20392-SH|\/| Document 74 Filed 04/22/05 Page 1 of 2 Page|D 99

IN THE UNITED sTATEs DISTRICT cotJFFJi£"D
FoR THE wEsTERN DISTRICT oF TENNES%§: `
wEsTERN DIVISION 3

 
 

 

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CLE‘H,.¢E.[NST CT
W. :

UNITED STATES OF AMERICA, '?N‘MEMPHR

 

Plaintiff,
vs. CR. NO. O4-20392h02-Ma

SHERRELL COATS,

~._r-_r-_rvv-.¢V~_/\_,

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on April 21, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Sherrell Coats, appearing in person and with
appointed counsel, Mr. Edwin Perry.

With leave of the Court, the defendant entered a plea of
guilty to Count 9 of the Indictment. Plea colloquy Was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, July 29, 2005 at

9:30 a.m.
The defendant may remain on her present bond pending

sentencing.

ZAFL-

ENTERED this the day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Wazh sue 55 and/or 32(b} FHCrP on ' 5'05

 

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This notice confirms a copy of the document docketed as number 74 in
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April 25, 2005 to the parties listed.

ENNESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

